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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

 JEFFERY MATTHEWS                               CIVIL ACTION NO. 6:18-cv-01527

 VERSUS                                         JUDGE JUNEAU

 MAYOR APRILL FOULCARD,                         MAGISTRATE JUDGE HANNA
 ET AL.

                                   JUDGMENT

       This matter was referred to United States Magistrate Judge Patrick J. Hanna

 for report and recommendation. After an independent review of the record, and

 noting the absence of any objections, this Court concludes that the Magistrate

 Judge’s report and recommendation is correct and adopts the findings and

 conclusions therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that the defendants’

 motion to dismiss for lack of standing (Rec. Doc. 23) is GRANTED, the court takes

 judicial notice of the settlement of Mr. Matthews’s claims, and this lawsuit is

 dismissed with prejudice, consistent with the report and recommendation.

       Signed at Lafayette, Louisiana, this 16th day of July , 2020.




                                       MICHAEL J. JUNEAU
                                       UNITED STATES DISTRICT JUDGE
